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             Michael Nacchio
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                                                                                 December 1, 2020

             Via ECF

             Honorable Lewis J. Liman
             United States District Judge
             Southern District of New York
             500 Pearl Street
             New York, New York 10007

                        Re:        HC2, Inc. v. Andrew Delaney
                                   Civil Action No. 20-cv-03178-LJL

             Dear Judge Liman:

                      This firm represents HC2, Inc. Plaintiff is in receipt of the Court’s Order entered November
             30, 2020. The Order directs Plaintiff to file an affidavit or declaration attaching “authentic copies of
             the documents referred to in paragraphs 36-38 and 14 of the counterclaims and in the [Defendant’s]
             March 17, 2020 email, all of which should have pre-existed March 18, 2020.” ECF No. 93.
             Defendant’s allegations feature and quote these documents. Therefore, Plaintiff writes to seek
             clarification of which party is responsible to submit these documents.

                        We thank the Court for its time and attention to this matter.

                                                                                 Respectfully Submitted,

                                                                                 OGLETREE, DEAKINS, NASH,
                                                                                 SMOAK & STEWART, P.C.

                                                                                 s/ Michael Nacchio

                                                                                 Michael Nacchio

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